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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


ROBERT D. GORDON, RECEIVER OF THE
ESTATE OF GREGORY N. McKNIGHT,
LEGISI MARKETING INC., and LEGISI
HOLDINGS, L.L.C.,

                      Plaintiffs,

                                                         Case No. 09-CV-10772
vs.                                                      HON. GEORGE CARAM STEEH


ELITE CONSULTING GROUP L.L.C.,
a Florida limited liability company, et al.,

                      Defendants.

_____________________________/

 ORDER GRANTING PLAINTIFF'S MOTION TO EXTEND SUMMONS FOR 90 DAYS
    AND FOR ALTERNATE SERVICE BY PUBLICATION UPON DEFENDANTS
        WITHERSPOON AND EDGETECH INTERNATIONAL INC. (# 19)

       Plaintiff Receiver Robert D. Gordon moves to extend the summons and for

substituted service by publication upon defendants Tricia Witherspoon and Edgetech

International Inc.. Plaintiff proffers evidence that attempts to serve defendant Witherspoon

at Elite Consulting Group LLC's office in Hallandale, Florida, have failed because the office

is vacant. Plaintiff also proffers evidence that process servers have learned that defendant

Edgetech no longer occupies its office in Lauderdale by the Sea, Florida, and that Edgetech

has not had a resident agent since March 20, 2009. Plaintiff asserts its diligent search of

Florida public records, and the efforts of private investigators, have failed to disclose an

address for either Witherspoon or Edgetech International Inc., and that service of process

has failed at their last known addresses.
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       On a showing of good cause, the court may extend the time of service for an

appropriate period. Fed. R. Civ. P. 4(m). Service upon an individual or unincorporated

association situated within a federal judicial district may be effected here pursuant to the

law of Michigan. Fed. R. Civ. P. 4(e)(1), (h)(1)(A). Michigan law provides that "[o]n a

showing that service of process cannot reasonably be made as provided by this rule, the

court may by order permit service of process to be made in any other manner reasonably

calculated to give the defendant actual notice of the proceedings and an opportunity to be

heard." M.C.R. 2.105(I)(1). Notice by posting or publication is provided for and available

pursuant to an order under M.C.R. 2.105(I). M.C.R. 2.106.

       On a showing of good cause, plaintiff's motion to extend the summons is hereby

GRANTED for a period of 90 days. The summons as it pertains to defendants Tricia

Witherspoon and Edgetech International Inc. is hereby EXTENDED through September 29,

2009. Plaintiff's motion for substituted service is hereby GRANTED to the extent plaintiff

may serve defendants Tricia Witherspoon and Edgetech International Inc. pursuant to

M.C.R. 2.106 by publishing a copy of this order once each week for six consecutive weeks

in a newspaper in the counties where the defendants were last known to reside and in

Wayne County, Michigan. The defendants are hereby NOTIFIED that:

       This action is pending in the United States District Court for the Eastern
       District of Michigan, United States Courthouse, 231 West Lafayette #238,
       Detroit, Michigan, 48226.

       The plaintiffs are Robert D. Gordon, Receiver of the Estate of Gregory N.
       McKnight, Legisi Marketing Inc., and Legisi Holdings, L.L.C..

       The defendants are Elite Consulting Group, L.L.C., Ivan Monsalve a/k/a Ivan
       Monsalves, Marsha Friedman, Karen L. Redman, Tricia Witherspoon, Jane
       Doe, John Doe, and Edgetech International, Inc..


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      The lawsuit alleges violations of State and Federal securities laws.

      Upon receiving service, defendant Tricia Witherspoon, and defendant
      Edgetech International Inc., must file their answer or otherwise defend this
      lawsuit by motion within 20 days. A copy of an answer or a motion must also
      be served on plaintiff or plaintiff's counsel, Attorney Edward J. Hood, Clark
      Hill, 500 Woodward Avenue, Suite 3500, Detroit, Michigan 48226-3435.

      If a defendant who receives service fails to file an answer or otherwise
      defend this lawsuit within 20 days of service, the defendant's default may
      enter, followed by entry of a default judgment against the defendant for the
      relief sought by the plaintiff in the complaint.

      SO ORDERED.

Dated: June 29, 2009

                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE

                                 CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record on
                       June 29, 2009, by electronic and/or ordinary mail.

                                     s/Marcia Beauchemin
                                         Deputy Clerk




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